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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
Western Division

CITY OF ROCKFORD
on behalf of itself and Civil Action No.: 3:17-cv-50107
all others Similarly Situated,
Plaintiff, Honorable Frederick J. Kapala

v. Judge Presiding

MALLINCKRODT ARD INC., Magistrate Judge lain D. Johnston
formerly known as QUESTCOR
PHARMACEUTICALS, INC.;
MALLINCKRODT PLC;

aml UNITED BIOSOURCE
CORPORATION,

 

Defendants.

MEMORANDUM IN SUPPORT OF MOTION TO DISMISS

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Mallinckrodt plc and Mallinckrodt ARD Inc. (“Mallinckrodt”) submit this Memorandum

in Support of their l\/Iotion to Dismiss the City of Rockford (“Plaintiff”)’s Complaint.
INTRODUCTION

Mallinckrodt is a leading global specialty pharmaceutical company responsible for saving
and improving the lives of millions of individuals Worldwide. Its adrenocorticotropic hormone
or ACTH drug, HP Acthar Gel (“Acthar”), is critical in the care and treatment of babies suffering
from a rare condition of infantile spasms and instrumental in treating adults With conditions
ranging from multiple sclerosis to arthritis. As set out herein, Plaintiff’s Complaint fails to state
any claim against Mallinckrodt and should be dismissed in its entirety.

LEGAL STANDARD

A motion to dismiss should be granted When a complaint fails to provide enough factual
information to “state a claim to relief that is plausible on its face” and “raise a right to relief
above the speculative level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 570 (2007).
Allegations that are “merely consistent With” a given cause of action are insufficient to satisfy
the plausibility standard. McCauley v. Cz`ly of Chi., 671 F.3d 611, 616 (7th Cir. 2011). A
plaintiff must “give enough details about the subject-matter of the case to present a story that
holds together.” Swanson v. Citz`bank, N.A., 614 F.3d 400, 404 (7th Cir. 2010).

“A plaintiff must allege that all elements of [the] claim are satisfied, but cannot survive a
Rule 12(b)(6) motion to dismiss by alleging only legal conclusions.” Sullivan v. All Web Leads,
Inc., No. 17C1307, 2017 WL 2378079, at *4 (N.D. 111. June 1, 2017). Simple “threadbare
recitals” of the elements of the claim, “supported by mere conclusory statements, do not suffice.”
Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). A court is “neither bound by the plaintiffs legal

characterization of the facts, nor required to ignore facts set forth in the complaint that

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undermine the plaintiff’ s claim.” Bz'galke v. Credz`trust Corp., 162 F. Supp. 2d 996, 997 (N.D.
Ill. 2001). When considering Plaintiffs Complaint in this light, dismissal is required here.
ARGUMENT

I. Plaintiff’s Antitrust Claims Fail (Counts I and IL

Plaintiff brings two antitrust claims under the Sherman Act_ one alleging monopolization
under Section 2, and another alleging anticompetitive agreements in restraint of trade under
Section 1. Both claims arise from Mallinckrodt’s changed Acthar distribution system beginning
in 2007 and the purchase of rights to a potentially competitive drug, Synacthen, in 2013. The
gravamen of Plaintiff’s antitrust claims is these actions “allowed Mallinckrodt to raise its prices”
or use its “monopoly power to inflate the price of Acthar” or “preserve and extend its monopoly
power and allow it to maintain and extend its high prices for Acthar.” (Compl. 1111 138-139, 157).

As a preliminary and decisive matter, the ]llinois Brz`ck doctrine categorically bars
Plaintiff from bringing antitrust claims due to its status as an indirect purchaser since Plaintiff
did not buy Acthar from either Mallinckrodt entity. Even if Plaintiff was properly positioned in
the distribution chain for a Sherman Act claim, its grievance about high prices does not provide a
cause of action under the antitrust laws, as set out below. “[T]he antitrust laws are not a price-
control statute.” Blue Cross & Blue Shield Unz`l‘ed of Wis. v. Marshfield Cll`nz'c, 65 F.3d 1406,
1413 (7th Cir. 1995). l\/Ioreover, when considering the actions of an alleged monopolist, the law
is clear that “[a] monopolist has no duty to reduce its prices or keep them low in order to help
consumers.” Ler)na v. Univz`sz`on Commc’ns, Inc., 52 F. Supp. 2d 1011, 1020 (E.D. Wis. 1999).
Finally, Plaintiff fails to make any non-conclusory allegations that Mallinckrodt’s conduct had
an adverse impact on competition See Banks v. NaI ’l (`ollegiale Alhletl`c Ass ’n, 977 F.2d 1081,

1093-94 (7th Cir. 1992).

39 §§

Plaintiff‘s Complaint repeats antitrust buzzwords like “monopoly prices, monopoly

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power,” and “anticompetitive conduct.” However, “invocation of antitrust terms of art does not
confer immunity from [dismissal]; to the contrary, these conclusory statements must be
accompanied by supporting factual allegations.” Car Carriers, ]nc. v. Ford Motor Co., 745 F.2d
1101 , 1110 (7th Cir. 1984). Plaintiff offers none, requiring dismissal of its antitrust claims.

A. The Illinois Brick Doctrine Bars Plaintiff’s Antitrust Claims.

Section 4 of the Clayton Act permits injured parties to recover for antitrust violations, but
recovery is firmly limited to direct purchasers following the landmark decision in Illz'noz's Brz`ck
Co. v. ]llz`noz`s, 431 U.S. 720 (1977). ln Illz'nois Brick, “[t]he Supreme Court intended to make a
bright line rule for identifying the proper plaintiff when an antitrust violation occurs in a multi-
tiered distribution system.” Del. Valley Surgz`cal Supply ]nc. v. Johnson & Johnson, 523 F.3d
1116, 1122 (9th Cir. 2008). Such a rule prevents duplicative recoveries and potential Windfalls
and avoids the complex calculations needed to determine the pass-on of overcharges through
various levels of the distribution chain. lllz`nois Brick, 431 U.S. at 730-32. Accordingly, an
indirect purchaser like Plaintiff is unable to recover under federal antitrust laws.

A person is an indirect purchaser when “[i]n the distribution chain, they are not the
immediate buyers from the alleged antitrust violators.” Kansas v. UtiliCorp Unl`ted, Inc., 497
U.S. 199, 207 (1990). Here, Plaintiff does not and cannot allege it purchased Acthar directly
from Mallinckrodt Instead, Plaintiff makes bare allegations, fails to provide basic details like
when purchases occurred or whom it purchased from, and offers inconsistent aggregate figures
on its total Acthar expenditures (Compl. 1111 12, 21). At most, one can glean from the Complaint
that Plaintiffs “purchases” were from a separate entity or specialty pharmacy several steps
removed from Mallinckrodt “Acthar is distributed through ‘specialty pharmacies.”’ (Compl. 11
3). Plaintiff actually holds itself out to be a downstream payor in the purchase of Acthar for city
employees; Plaintiff is not a consumer of the drug.

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Courts review the “mechanics of the transaction” when considering which party is the
direct purchaser of pharmaceutical drugs See, e.g., Warren Gen. Hosp. v. Amgen, Inc., 643 F.3d
77, 88 (3rd Cir. 2011). Warren General Hospz`tal is instructive here, as there a hospital Was
found to be an indirect drug purchaser under Illinois Brz`ck. Specifically, in that case:

The mechanics of the transactions [here] . . . reveal Warren General to be an

indirect purchaser of Amgen’s drugs. First, when Warren General wants to

purchase Amgen’s . . . drugs it places its order through AmerisourceBergen

Accordingly, AmerisourceBergen charges Warren General for its order. Second,

AmerisourceBergen maintains the right to set the price of the drugs it sells, and

thus AmerisourceBergen’s price is not necessarily the price it paid Amgen. Third,

Warren General physically takes delivery of the shipment from

AmerisourceBergen Fourth, Warren General pays AmerisourceBergen directly; it

transmits no funds to Amgen.
Id.

Even in a situation where “the manufacturers’ increased prices had been passed in whole
or part down the chain of distribution to the ultimate consumers,” plaintiffs’ federal antitrust
claims were barred by Illinois Brick because they “had not purchased the drugs directly from the
defendants, but rather from retailers.” ]n re Brand Name Prescrz`ptz'on Drugs Antitrust Litig., 248
F.3d 668, 670 (7th Cir. 2001). Here, the connection between the initial sale of Acthar by the
manufacturer and Plaintiff’ s “payments” is similarly attenuated The most that can be inferred

from Plaintiff"s disparate allegations is that it could be no more than an indirect purchaser.

B. Plaintiff Fails to State Plausible Claims Under Section 1 or Section 2.

In any event, Plaintiff also fails to sufficiently allege the elements of its Section 1 and
Section 2 claims. A Section 1 claim requires: “(1) a contract, combination, or conspiracy; (2) a
resultant unreasonable restraint of trade in the relevant market; and (3) an accompanying injury.”
Bra)nan v. The CME Grp,, ]nc., 149 F. Supp. 3d 874, 895 (N.D. lll. 2015) (citing Denny’s
Marz`na, Inc. v. Renfro Prods., ]nc., 8 F.3d 1217, 1220 (7th Cir. 1993)). Twombly requires
“enough factual matter (taken as true) to suggest that an agreement [to restrain trade] was made.”

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550 U.S. at 556. “[A] conclusory allegation of agreement at some unidentified point does not
supply facts adequate to show illegality” and the facts pled must “raise a reasonable expectation
that discovery will reveal evidence of illegal agreement.” Id. at 556-557.

A Section 2 monopolization claim requires: “(1) the possession of monopoly power in the
relevant market and (2) the willful acquisition or maintenance of that power.” In re Dairy
Farmers ofAm., ]nc. Cheese Antitrust Litig., 767 F. Supp. 2d 880, 901 (N.D. Ill. 2011) (citing
Unz'ted States v. Grinnell Corp., 384 U.S. 563, 570-71 (1966)). “The mere possession of
monopoly power, and the concomitant charging of monopoly prices, is not only not unlawful; it
is an important element of the free-market system.” Verizon Comrnc’ns ]nc. v. Law O]j"ices of
Curtis V. Trz'nko, LLP, 540 U.S. 398, 407 (2004). “[T]he willful acquisition or maintenance” of
monopoly power must be “distinguished from growth or development as a consequence of a
superior product, business acumen, or historic accident” to state a viable claim. Endsley v. City of
Chl`., 230 F.3d 276, 282 (7th Cir. 2000) (citing Eastman Kodak Co. v. lmage Tech. Servs., 504
U.S. 451, 481 (1992)).l That is because “Section 2 forbids not the intentional pursuit of
monopoly power but the employment of unjustifiable means to gain that power.” ]d. at 282
(emphasis added). “Simply possessing monopoly power and charging monopoly prices does not
violate § 2.” Pact`jz`c Bell Tel. Co. v. Ll`nklz`ne Comntc ’ns, ]nc., 555 U.S. 438, 447-48 (2009).

Plaintiff’s Section 1 and 2 claims both center on Mallinckrodt’s use of an exclusive
distribution arrangement and its purchasing the rights to Synacthen - but these unremarkable
business activities do not plausibly state a claim under the Sherman Act.

1 . Exclusive Distribution Arrangement.

Here, Plaintiff claims the Acthar distribution arrangement is an unreasonable restraint of

 

l Plaintiff does not allege Mallinckrodt obtained its monopoly through improper means, but rather
monopoly power was improperly maintained (Compl. 11 138).

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trade under Section 1 and illegal maintenance of a monopoly under Section 2. Plaintiff alleges
that in 2007, Mallinckrodt “contracted with Curascript [sic] to be its exclusive specialty
pharmacy distributor of Acthar throughout the country.” (Compl. 11 51). lt also alleges that
Mallinckrodt “engages UBC as its exclusive agent to coordinate all aspects of the drug
prescription/authorization, distribution and payment.” (Compl. 11 45).

Plaintiff frequently levies general allegations about the Acthar distribution process and
pairs them with conclusory statements regarding monopolistic conduct, but offers no allegations
explaining how the exclusive distribution arrangement is anticompetitive Instead, Plaintiff just
makes bare allegations like the following (conclusory language is italicized):

0 “As discussed below, in 2007, Questcor changed its distribution of Acthar,
vertically integrating its sales and distribution through one exclusive distributor,
Curascript [sic]. This was the beginning of Mallinckrodt ’s monopolistic conduct
and unlawful scheme to inflate the prices of Acthar.” (Compl. 11 4).

0 “But in July 2007, Questcor embarked on a new strategy and business model: to
limit distribution to one specialty pharmacy distributor (Curascript [sic]) to
enhance its monopoly power and to increase the price of Acthar more than
tenfold[.]” (Compl. 11 5).

¢ “[I]n 2007, Mallinckrodt leveraged and enhanced its monopoly power by limiting
the distribution of its sole specialty drug to just one specialty pharmacy

distributor, and employing an exclusive agent, UBC, to coordinate all aspects of
its distribution and sales of its product[.]” (Compl. 11138).

This manner of pleading is insufficient See Dickson v. Microsoft Corp., 309 F.3d 193, 213 (4th
Cir. 2002) (“Because [the plaintiff] has failed to allege facts which, if true, would establish that
the two licensing agreements at issue are unreasonable restraints on trade that caused antitrust
injury to consumers, its § 1 and § 2 claims fail as a matter of law”).

lt is well-accepted that “[t]he benefits of exclusive dealing are many.” Phillip E. Areeda
& Herbert J. Hovenkamp, ANTITRUST LAW: AN ANALYSIS OF ANTITRUST

PRINCIPLES AND THElR APPLICATION, 111810 (2013). As Judge Posner has noted, “[w]hat

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is more common than exclusive dealing?” Methodist Health Services Corp. v. OSF Healthcare
Sys., 859 F.3d 408, 410 (7th Cir. 2017). Generally, “[s]uppliers should have the discretion to
structure their own distribution.” Lerma, 52 F. Supp. 2d at 1020. However, there are two
paradigm situations where exclusive distribution agreements can have “adverse economic
consequences:” (1) “allowing one supplier of goods or services unreasonably to deprive other
suppliers of a market for their goods” or (2) “allowing one buyer of goods unreasonably to
deprive other buyers of a needed source of supply.” Je]j”erson Parish Hosp. Dist. No. 2 v. Hyde,
466 U.S. 2, 45 (1984) (O’Connor, J., concurring), abrogated on other grounds by Ill. Tool Works
Inc. v. Indep. Ink, Inc., 547 U.S. 28 (2006). Plaintiff has alleged neither of these consequences
and offers only bare allegations that an exclusive distributor led to higher prices. Plaintiff does
not describe how the arrangement supposedly allows Mallinckrodt to raise its price any more
than it otherwise could given its alleged status as a monopolist. See E&L Consulting, Ltd. v.
Doman Indus. Ltd., 472 F.3d 23, 29 (2d Cir. 2006) (exclusive distribution arrangement “provides
no monopolistic benefit to [defendant] that it does not already enjoy”). A monopolist is able to
control its prices regardless of how many distributors (if any) it chooses to use. Plaintiff is also
silent about the pre-2007 distribution system and how it differed materially from the current
system. In reality, the Acthar distribution arrangement has no bearing on monopolist status or
the ability to set monopoly prices.

Because exclusive distribution arrangements are not unusual and only rarely can be
anticompetitive, a Section 1 claimant must plead an anticompetitive effect of the agreement See
Car Carriers, 745 F.2d at 1107; see also Brown v. Visa U.S.A., lnc., 674 F. Supp. 249, 252 (N.D.
Ill. 1987). Specifically, “the plaintiff must allege, not only an injury to himself, but an injury to

the market as well.” C ar Carriers, 745 F.2d at 1 107; see also Bunker Ramo Corp. v. United Bus.

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Forms, ]nc., 713 F.2d 1272, 1285 (7th Cir. 1983) (dismissing Section 1 claim where plaintiff had
“not alleged any anticompetitive effect arising from the defendants’ conduct, nor [was the court]
able to infer such an effect from the facts alleged” because “[t]he closest [the plaintiff] comes to
implicating any effect on competition is a bare allegation that it was charged an ‘artificially high,
non-competitive price”’).

Plaintiff offers no non-conclusory allegations that the Acthar distribution arrangement
harms or restricts competition, particularly interbrand competition Leegin Creative Leather
Products, ]nc. v. PSKS, ]nc., 551 U.S. 877, 890 (2007) (“[The] primary purpose of the antitrust
laws is to protect [interbrand] competition”); see also Bunker Ramo, 713 F.2d at 1283. Plaintiff
only alleges its “injuries consist of paying higher prices to purchase Acthar than it would have
paid absent Mallinckrodt’s unlawful conduct.” (Compl. 1111 144, 152). Pleading one’s own
payment of “high, non-competitive” prices is not enough. Bunker Ramo, 713 F.2d at 1285.
Courts should be “unwilling to construe pleadings so liberally as to imply an anticompetitive
effect or harm to competition where there is not even a bare allegation of such an effect and the
alleged facts do not support one.” Id. Plaintiff’ s failure to allege anticompetitive harm requires
dismissal.

A monopolization claim under Section 2 also requires more than an allegation of high
prices; there must be an adverse impact on competition Plaintiff’ s monopolization claim fails
since exclusive distribution is a valid business strategy that has no impact on market power or
competition; merely alleging an exclusive distribution arrangement is insufficient to state a
plausible monopolization claim. See Filter Queen of the Virginias, ]nc. v. Health-Mor, ]nc., No.
89 C 5511, 1990 WL 36824, at *3 4 (N.D. lll. Mar. 20, 1990). Plaintiff fails to allege any

plausible theory as to why having a sole distributor is anticompetitive or contributes to

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improperly maintaining monopoly power.

In Health-Mor, plaintiffs-defendant’s former distributors_claimed a changed
distribution system was “an attempt to monopolize and a conspiracy between Health-Mor and its
distributors in restraint of trade” and their complaint was essentially a “general attack on Health~
l\/Ior’s distribution system of exclusive distributorship territories in a relevant market for
expensive vacuum cleaners.” Id. at * 3. When considering dismissal, the court was “somewhat
confused by the monopolization and attempted monopolization claims, since plaintiffs do not tell
us how the vertical distribution restraints (and we are talking about vertical rather than horizontal
restraints) lead to monopolization or drive competitors from the marketplace.” Id. Ultimately,
the Court found “[i]t is not an antitrust violation to change distributors” and dismissed the claim.
Id at *4. Health-Mor applies with equal force here, as Plaintiff fails to explain how a vertical
distribution restraint (i.e., the alleged exclusive distribution arrangement) injures competition

2. Purchase of Synacthen.

Plaintiff also alleges Mallinckrodt’s purchase of the rights to Synacthen violated antitrust
laws since, at that time, Synacthen “was a synthetic version of Acthar and the only potentially
competitive product in the market.” (Compl. ‘l[ 7). Specifically, Plaintiff refers to a contract
between Questcor and its “competitor,” Novartis, dated June 11, 2013, through which, Plaintiff
alleges, “Questcor [Mallinckrodt] gained the exclusive rights to develop, market, and sell
Synacthen.” (Compl. 11 84).2 Plaintiff appears to surmise that if another company had bought

Synacthen, it would have impacted Acthar pricing or it would have been a substitute product that

 

2 The bulk of Plaintiff’s Synacthen allegations are direct quotations or references to an earlier Federal
Trade Commission (“FTC”) complaint and consent decree, which are improper. Mallinckrodt has filed
contemporaneously herewith a motion to strike such allegations as immaterial and prejudicial in
accordance with Section 5(a) ofClayton Act and Ru|e 12(1). See Damon Corp. v. Geheb, No. 80 C 1500,
1982 WL 1927, at *1 (N.D. lll. Nov. 23, 1982) (striking improper references to FTC matter). Without
these improper allegations regarding the FTC proceedings, the Complaint is completely devoid of any
substantive allegations plausibly showing the purchase of Synacthen to be anticompetitive

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Plaintiff would have purchased at a lower price. Essentially, Plaintiff contends it would have
paid less but-for Mallinckrodt’s acquisition of Synacthen, and that constitutes an antitrust claim.

Mallinckrodt vigorously rejects the notion that the acquisition of Synacthen was an
antitrust violation, but even if true, Plaintiff could still not state a claim. An antitrust violation
alone is insufficient to pursue a damages claim. See J. Truett Payne Co. v. Chrysler Motors
Corp., 451 U.S. 557, 562 (1981). A plaintiff must also show it was injured as a result of the
violation, often referred to as “injury-in-fact” or “fact of damage.” Story Parchment Co. v.
Patterson Parchment Paper Co., 282 U.S. 555, 562 (1931). Plaintiff must allege how the market
would have been different “but-for” the supposed wrongful conduct and show how its injury
would have been avoided in that “but-for” market. E.g., Fishman v. Estate of Wirtz, 807 F.2d
520, 550 (7th Cir. 1986) (showing fact of damage requires “quantifying the difference between
what actually happened and what would have happened in a hypothetical free market”).

Plaintiff must sufficiently allege that “but-for” the acquisition of Synacthen, prices for
Acthar would have been lower. See, e.g., Bigelow v. RKO Radio Pictures, 327 U.S. 251, 259-63
(1946). Plaintiff makes no such allegations, nor could it because of the rigorous FDA drug
approval process Plaintiff itself acknowledges (Compl. 1111 62-64). Plaintiff alleges only that
Synacthen was “potentially” competitive with Acthar when Mallinckrodt acquired it in 2013.
(Compl. 1111 67-68). Any supposed anticompetitive effect from this acquisition, then, could not
have occurred until after 2013. Plaintiff fails to allege when it paid for Acthar, but its only claim
of “injury-in-fact” (and that must be inferred) is that: (i) Synacthen would have been available in
the U.S. market at the time it paid for Acthar; (ii) Acthar would have been cheaper; and/or (iii)
Plaintiff would have purchased Synacthen instead of Acthar at a lower price. This theory is

analogous to the entry of a generic drug that reduces the price for a drug previously on patent.

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Plaintiff alleges no facts plausibly showing that, at the time Plaintiff paid for Acthar, the
“potentially” competitive Synacthen: (i) could have gone through additional development; (ii)
obtained necessary government approvals; (iii) would have been in the market; and (iv) would
have been priced lower than Acthar. To the contrary, Plaintiff acknowledges the FDA approval
process is lengthy and complex and there was substantial “uncertainty [whether] Synacthen, a
preclinical drug, would be approved by the FDA.” (Compl. 1111 64, 67). Plaintiff’ s claim of
injury is wholly speculative. And given that the antitrust laws require a “reasonable degree of
certainty” that “injury-in-fact” occurred, the Complaint is entirely inadequate in this regard. See,
e.g., Dominguez v. UAL Corp., 666 F.3d 1359, 1361-62 (D.C. Cir. 2012) (injury too speculative
to satisfy “injury-in-fact” requirement and not supported by “specific facts”).

3. High Prices are More Plausibly Caused by the 0rphan Drug Status.

In evaluating a purported antitrust claim, “the court is not required to don blinders and to
ignore commercial reality.” Car Carriers, 745 F.2d at 1110. “Antitrust analysis must always be
attuned to the particular structure and circumstances of the industry at issue.” Verizon
Commc ’ns, 540 U.S. at 411. “To survive a motion to dismiss, a claim must make economic and
factual sense.” Lerma, 52 F. Supp. 2d at 1025. Neither of Plaintiff s claims make sense or set
out plausible antitrust violations

Relevant here, the Orphan Drug Act was enacted in 1983 (Public Law No. 97-414) to
incentivize pharmaceutical companies to develop drugs for rare diseases and conditions. See 21
U.S.C. § 360aa-ff (2012). One such incentive is codified as “orphan drug exclusivity,” 21 U.S.C.
§ 360bb(a)(2)(A-B), which provides a seven-year exclusivity period where ‘°[t]he disease or
condition for which the drug is intended affects fewer than 200,000 people in the United States”
or “there is no reasonable expectation that costs of research and development of the drug for the
indication can be recovered by sales ofthe drug in the United States[.]” 21 C.F.R. 316.20 et seq.

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Given the rarity of infantile spasms and the uniqueness of Acthar, the FDA designated it as an
“Orphan Drug” on May 31, 2003, and provided marketing approval on October 15, 2010. (See
Compl. 11 36). This status brings a seven-year period of exclusivity, during which time the FDA
will not approve any other version of the drug to treat infantile spasms. Plaintiff itself concedes
that a “distinguishing feature of specialty pharmaceuticals like Acthar” is “high prices.” (Compl.
il 3). The more plausible explanation for the Acthar pricing about which Plaintiff complains is
that it is the natural result of a lawful monopoly for an orphan drug and reflects the price
consumers were willing to pay.

II. PlaintifPs Allegations Do Not State a Claim for Any RICO Violation (Counts IIl-V).

Courts should use “common sense” when analyzing RICO claims. Vicom, Inc. v.
Harbridge Merchant Servs., Inc., 20 F.3d 771, 782 (7th Cir. 1994). The statute intends to
prevent instances “in Which a person bent on criminal activity seizes control of a previously
legitimate firm and uses the firm’s resources, contacts, facilities and appearance of legitimacy to
perpetrate more, and less easily discovered, criminal acts than he could do in his own person[.]”
Fitzgerald v. Chrysler Corp., 116 F.3d 225, 227 (7th Cir. 1997). Here, however, Plaintiff seeks
to effectively criminalize Mallinckrodt’s pricing and unremarkable distribution network. This
bears no resemblance to the organized criminal conduct Congress sought to eradicate with RICO.

The thrust of Plaintiff s RICO claims is that Questcor, and then Mallinckrodt, charged
high prices for Acthar and used a single distributor But just as these allegations do not support
any antitrust claims, realizing profit and commanding “high” prices is not a RICO offense. The
alleged purpose of Mallinckrodt’s actions--“distributing, marketing, selling, purchasing, and
administering Acthar to plaintiff [sic] and the Class, and deriving substantial profits from these
activities”-belies any claim of unlawful conduct. (Compl. 11 157). And while Plaintiff claims
using a single distributor was a scheme to inflate prices, its own allegations support an obvious

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alternative, and benign, explanation: “vertically integrating its sales and distribution through one
exclusive distributor” for a limited-production, specialty, “orphan” drug was efficient,
economical, and streamlined. (Compl. 1111 3, 70). Plaintiff’ s RICO claims wholly lack merit.

A. Plaintiff Has Failed to State a Claim Under 1962(c) (Count III).

A Section 1962(0) RICO claim requires allegations of facts showing: (l) conduct; (2) of
an enterprise; (3) through a pattern; (4) of racketeering activity. 18 U.S.C. § 1962(0). A plaintiff
cannot simply allege the elements in “boilerplate fashion,” but “must allege sufficient facts to
support each element.” Goren v. New Vision lnt'l, ]nc., 156 F.3d 721, 727 (7th Cir. 1998).

1. Plaintiffs Allegations Improperly Lump Together Defendants.

A plaintiff cannot state a RICO claim by, as here, “lumping together” defendants Id. at
730. Plaintiff defines “Mallinckrodt” as both Mallinckrodt ARD and its parent company,
Mallinckrodt plc, and fails to articulate specific conduct attributable to each party. (Compl. 1111 1,
22, 25). Thus, when Plaintiff attributes conduct to “l\/lallinckrodt,” its faulty naming convention
results in allegations being levied against two completely separate companies. Plaintiff asserts
Mallinckrodt ARD (which Plaintiff defines as “Questcor”) is responsible for the manufacture,
distribution and sale of Acthar, but makes no such allegation against Mallinckrodt plc ~ nor is
there a basis for one. (Compl. 11 23). Plaintiff names Mallinckrodt plc in this action owing solely
to its status as Mallinckrodt ARD’s parent company. (Compl. 1111 1, 22, 24). This is patently
improper and ineffective to state a claim against Mallinckrodt plc. “lt is clear that liability under
RICO is limited to persons who have ‘personally committed’ at least two predicate acts of
racketeering There is no vicarious liability under RICO.” Emery v. Am, Gen. Fin., Inc., 938 F.
Supp. 495, 499 (N.D. lll. 1996) (rejecting RlCO claim against parent company where plaintiff
merely alleged existence of parent-subsidiary relationship). Further, “[a] parent company will be

a proper RICO defendant only if it participated in the wrongful conduct of its subsidiary.” All-

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Tone Commc’ns, ]nc. v. American Info. Tech., No. 89 C 7883, 1991 WL 166532, at *2 (N.D. lll.
Aug. 26, 1991) (plaintiff failed to adequately allege RICO claim against parent corporation)
(citing D & SAuto Parts, ]nc. v. Schwartz, 838 F.2d 964, 966-67 (7th Cir. 1988)).

Plaintiff also often defines “Mallinckrodt” and UBC collectively as “Defendants” and
levies general, collective allegations against all Defendants instead of particularized ones.
(Compl. 1111 160-172, 178). Plaintiff does not allege which Defendants were engaged in what
predicate acts or the nature of their participation This pleading defect requires dismissal.
Freedom Mortg. Corp. v. Burnham Mortg., lnc., 720 F. Supp. 2d 978, 995 (N.D. Ill. 2010).

2. PlaintiffHas NotAdequately Alleged the Existence of an Enterprise.

Plaintiff alleges “an association-in-fact enterprise consisting of Mallinckrodt, UBC,
and CuraScript, including their directors, employees, and agents.” (Compl. 1[ 156). But a
corporation plus its agents is not an “enterprise” Chrysler, 116 F.3d at 228; Baker v. ]BP, lnc.,
357 F.3d 685, 691 (7th Cir. 2004). RICO does not apply “to a free-standing corporation
merely because [it] does business through agents, as virtually every manufacturer does[.]”
Chrysler, 116 F.3d at 227; Rowe v. Bankers Life & Cas. Co., No. 09-cv-491, 2010 WL 3699928,
*6 (N.D. lll. Sept. 13, 2010); Rocha v. FedEx Corp., 15 F. Supp. 3d 796, 807 (N.D. lll. 2014).
Plaintiff repeatedly alleges UBC and CuraScript are agents of Mallinckrodt, which is patently
defective (Compl. 1111 27, 43, 45-48, 130-31, 138, 156, 158). So too is any claim that the two
Mallinckrodt defendants could be a purported RICO enterprise Chrysler, 1 16 F.3d at 228.

Nor does Plaintiff otherwise allege facts showing an enterprise The Supreme Court has
taken a liberal view of what suffices, but the bounds are not limitless. United Food &
Commercial Unions & Employers Midwest Health Benefits Fund v. Walgreens Co., 719 F.3d
849, 853-54 (7th Cir. 2013) (Boyle still requires the enterprise have an ascertainable structure

and a “person distinct from the RICO enterprise”); Myers v. Seung Heun Lee, No. 1110-cv-

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131, 2010 U.S. Dist. LEXIS 99707, at *18 (E.D. Va. Sept. 21, 2010) (enterprise activities “must
be distinguishable from the normal day to day activities”). Plaintiff claims the RICO enterprise
is “manifested in the ASAP program.” (Compl. 1111 156-59). But ASAP (Acthar Support and
Access Program) is just an acronym for the system by which, as Plaintiff alleges, “drug
prescription/authorization, distribution, and payment” are coordinated to “ensur[e] efficient
seamless service” for Acthar patients (Compl. 1111 23, 44-45). This is not distinct from
Defendants’ day-to-day activities, nor is the supposed enterprise distinct from the conduct at
issue: employing a single distributor to deliver Acthar.

3. Plaintijj"’s Allegations Reveal No Conduct of a RICO Enterprise.

Plaintiff’ s allegations are devoid of facts showing the Defendants “conducted or
participated in the conduct of the enterprise’s affairs,” as opposed to simply furthering their own
commercial interests Cedric Kushner Promotions, Ltd. v. King, 533 U.S. 158, 163 (2001)
(citations omitted). ln Walgreens, the Seventh Circuit rejected the employee benefit plan’s
RICO claim where Walgreens and a drug maker, Par, allegedly overcharged for prescriptions
719 F.3d at 850. The companies “regularly communicated” and there were “communications
in which Par proposed [a] drug-switching program and Walgreens agreed to implement it” ld. at
854-55. “But nothing in the complaint reveals how one might infer that these communications or
actions were undertaken on behalf of the enterprise as opposed to on behalf of Walgreens and
Par in their individual capacities, to advance their individual self-interests.” ld. at 855. “lnstead,
the activities the complaint describes are entirely consistent with Walgreens and Par each going
about its own business, with Par manufacturing generic drugs and marketing its products to
pharmacies, and Walgreens purchasing drugs and filling prescriptions.” ld.

A defendant must “participate in the operation or management of the enterprise itself”
and “have some part in directing those affairs.” Reves v. Ernst & Young, 507 U.S. 170, 179, 183

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(1993). A complaint must plead facts plausibly alleging a degree of cooperation and coordination
“that fell outside the bounds of the parties’ normal commercial relationships” Nesbitt v. Regas,
No. 13-C-8245, 2015 WL 1331291, at *8 (N.D. Ill. l\/Iarch 20, 2015); ln re Insurance Brokerage
Antitrust Litig., 618 F.3d 300, 378 (3rd Cir. 2010). As the Seventh Circuit noted in Walgreens:
while it is true that Walgreens does not make drugs and Par does not fill
prescriptions and that the two companies must therefore “cooperate” in order for

drugs to reach consumers, such cooperation describes virtually every prescription

pharmaceutical distribution chain. T he allegations in the complaint do not

indicate how the cooperation in this case exceeded that inherent in every
commercial transaction between a drug manufacturer and pharmacy, and without

such an indication, we cannot find a basis for inferring [they] were conducting the

enterprise’s affairs
719 F.3d at 856 (emphasis added).

Plaintiff fails to specifically identify any communications much less facts revealing
conduct of an enterprise’s affairs as opposed to cooperation furthering each party’s own interests
Generalized claims about “a common communication network” by which Defendants and
CuraScript “shared and continue to share information on a regular basis” are of no moment.
(Compl. 11 159). And while Plaintiff contends “Mallinckrodt’s conduct in sending e-mails, faxes
and other communications to UBC to direct the distribution and sale of Acthar through ASAP”
reveals a price inflation scheme, these actions are entirely consistent with each party simply
advancing its own interests to sell and distribute Acthar and support Acthar patients

Unable to articulate how each Defendant operated or managed the enterprise (since none
existed), Plaintiff resorts to generalized, conclusory allegations that all “Defendants” have
exerted control over the enterprise, have associations with it, and conduct and participate in its
affairs (Compl. 1111 160-61). These naked boilerplate allegations do not pass muster. Goren, 156

F.3d at 727. Plaintiff also does not, and cannot, claim Defendants “involved themselves in the

affairs of the other” or “that profits were siphoned off.” Walgreens, 719 F.3d at 855.

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4. PlaintiffFails to Allege Any Predicate Acts with Requisite Specificity.

Plaintiff utterly fails to allege any predicate racketeering acts Plaintiff claims
Defendants engaged in anticompetitive conduct and charged “inflated” prices for Acthar. High
prices do not constitute an antitrust violation and, in any event, a “violation of antitrust law is not
a predicate act under RICO.” Jennings v. Emry, 910 F.2d 1434, 1437 (7th Cir. 1990).

Plaintiff alleges the parties’ fraudulent scheme consisted of “confining patients to an
exclusive distribution network, such that they could drastically inflate the prices charged for
Acthar.” (Compl. 11 162). “A necessary element of a scheme to defraud is the making of a false
statement or material misrepresentation or the concealment of a material fact.” Williams v.
Aztar Indiana Gaming Corp., 351 F.3d 294, 299 (7th Cir. 2003). Plaintiff alleges no facts
whatsoever _ much less with heightened Rule 9(b) specificity - supporting a plausible inference
that any party engaged in fraud in connection with the distribution system or pricing for Acthar.
Fraud does not arise simply because a party believes a company charges too much.

Plaintiff’s mail and wire fraud claims which must also be pleaded with heightened
specificity, are woefully deficient Slaney v. T he lnt’l Amateur Athletic Fed’n, 244 F.3d 580,
597-99 (7th Cir. 2001) (“plaintiff must, at a minimum, describe the two predicate acts of fraud
with some specificity and state the time, place, and content of the alleged false representations
the method by which the misrepresentations were communicated, and the identities of the parties
to those misrepresentations”); Emery v. Am. Gen. Fin., lnc., 134 F.3d 1321, 1323 (7th Cir. 1998).

Plaintiff fails to allege a single instance of wire or mail fraud. claiming instead the parties
have a “common communication network” and “share information on a regular basis” (Compl. 11
159). Plaintiff claims such unspecified communications “typically” occurred “by use of the
wires and mails” and that “l\/Iallinckrodt, UBC, and Curascript [sic] all agree to charge inflated
prices for Acthar[,]” but does not, and cannot, specify the time, place, content_ and parties to any

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such communications Goren, 156 F.3d at 729. Plaintiff fails to describe any details whatsoever.
Plaintiff also critically fails to explain how any communication (i) contained a misrepresentation
(ii) was made to, and (iii) reasonably relied upon by Plaintiff. There are none

Plaintiffs rampant speculation that unspecified communications “likely involved
hundreds if not thousands of separate instances of the use of the” mail or wires or that “[e]ach
of these fraudulent mailing and interstate wire transitions” was racketeering activity is
inadequate (Compl. il 161). “The Seventh Circuit does not look favorably on relying on
many instances of mail and wire fraud to form a pattern.” Vicom, 20 F.3d at 781. As Plaintiff
has failed to sufficiently describe a single instance of mail or wire fraud, a priori it fails to allege
a pattern of racketeering activity.

5. Plaintijj"’s Allegations Are Insujjicient to Establis/i RICO Injury or
Causation.

Plaintiffs alleged RICO injury is “economic injuries in the form of overcharges.”
(Compl. 11 127). “A plaintiff alleging damages in out-of-pocket losses must allege these damages
as a quantifiable, ‘clear and definite’ monetary amount.” Southern lllinois Laborers’ and
Employers Health and Welfare Fund v. sz`zer ]nc., No. 08-cv-5175, 2009 WL 3151807, at *4
(S.D.N.Y. Sep. 30, 2009) (citing McLaughlin v. Am. Tobacco Co., 522 F.3d 215, 227 (2nd Cir.
2008). “Courts disfavor damages estimates that require speculation or that are based upon
factors other than the defendant’s misrepresentations.” ld. l\/loreover, only a “concrete financial
loss” constitutes a cognizable injury under RICO. District 1199P Health and Welfare Plan v.
Janssen, L.P., No. 06-3044 (FLW), 2008 WL 5413105, at *7 (D.N.J. Dec. 23, 2008) (TPP~
plaintiff’s claim that it overpaid for prescription drugs did not constitute cognizable RICO
injury). Even if Plaintiff’s vague “overcharges” claim could support a RlCO injury, which it

cannot, Plaintiff cannot plausibly show any “overcharges” were caused “by reason of a

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violation” of RICO. (Compl. 11 127).

A plaintiff must show the RICO violation was both the “but-for” and proximate cause of
injury. Holmes v. Sec. lnvestor Prot. Corp., 503 U.S. 258, 268 (1992). Plaintiff posits that but-
for (i) the use of a single distributor, (ii) the Synacthen acquisition, and (iii) Synacthen not
coming to market, Plaintiff would have paid “lower” Acthar payments But any overcharges
were not “by reason of a violation” of RICO, since none of these are violations Regardless,
PlaintifPs allegations reveal its causation theory is impermissibly attenuated Plaintiff does not
allege facts showing how using multiple distributors would have impacted prices (Compl. 1111
159-60, 162). Nor has Plaintiff plausibly alleged alternative drugs could have been available in
the market to impact Acthar pricing at all, let alone by the time Plaintiff paid for Acthar.
Plaintiff’s allegations reinforce that Acthar is the only drug FDA-approved for therapeutic use in
the U.S., there are no substitutes and it was uncertain whether Synacthen could obtain FDA
approval and clear the “high barriers to entry” for the ACTH market. (Compl. 1111 55, 63-64, 67).

Nor do Plaintiff’s allegations plausibly demonstrate proximate cause “When a court
evaluates a RICO claim for proximate causation, the central question is whether the alleged
violation led directly to the plaintiff’ s injuries.” Anza v. ldeal Steel Supply Corp., 547 U.S. 451,
461 (2006). Courts have recognized that claims by third party payors (TPPs) seeking to recoup
“losses” occasioned by prescription reimbursements pose proximate causation issues E.g.,
Sidney Hillman Health Ctr. ofRochester v. Abbott Labs., 192 F. Supp. 3d 963, 968 (N.D. Ill.
2016) (collecting cases) (dismissing TPP plaintiffs’ putative class action for lack of causation).
After reviewing numerous TPP proximate causation cases the Hillman court concluded “the
distinguishing characteristic [is] whether the drug manufacturer directly made misrepresentations

to the TPP because otherwise intervening factors ~ such as a physician’s independent medical

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judgment or a patient’s decision making ~ interrupt the chain of causation.” ld. at 970; see also
ln re Testosterone Replacement Therapy Prod. Liab. Litig. Coordinated Pretrial Proceedings,
159 F. Supp. 3d 898, 913-14 (N.D. lll. 2016) (determining factor is whether defendants made
misrepresentations directly to TPP plaintiffs).

Similarly, in ]n re Yasmin and Yaz (Drospirenone) Mktg., Sales Practices and Prod.
Liab. Litig., Nos. 3:09-cv-20071, 3:09-md-02100, 2010 WL 3119499, at *5 (S.D. 111. Aug. 5,
2010), the health benefit fund-plaintiffs could not establish causation to pursue RICO claims
related to improper promotion of FDA-approved drugs “[A] majority of courts considering the
issue have concluded that the injury for which third party payors seek reimbursement is too
remote and speculative to maintain a RICO claim.” ld. at *6 (collecting cases). Ultimately, the
purported injury of paying too much for the drug was too attenuated since “multiple steps
separate[d] the alleged wrongful conduct and the alleged injuries,” with “the causal link
necessarily involv[ing] the decision making process of the patient, the prescribing physician, and
the third party payor.” ld. at *7. Here, Plaintiff does not and cannot allege Mallinckrodt made
any representations to Plaintiff, much less misrepresentations that caused Plaintijjf to decide to
payfor Acthar.3 ]n re Yasmin, 2010 WL 3119499, at *7; UFCS Local 1776 v. Eli Lilly & Co.,
620 F.3d 121, 134 (2nd Cir. 2010). This lack of causation requires dismissal.

Plaintiffs own allegations also reveal some of the contingent steps that must occur before
it actually reimburses for Acthar, and which courts have said interrupted causation A physician
must determine Acthar is “medically necessary.” (Compl. 11 47; “Acthar Start Form” at Exhibit

A, p. 1). The patient or physician “contacts Mallinckrodt for a prescription” and then fills out the

 

3 The observation in Hillman that plaintiff “do[es] not mention anything about their prescription
reimbursement process in the class action complaint or how they came to pay for [the drug]_ only
conclusorily alleging that they have paid or reimbursed such prescriptions....” resonates here. 192 F.
Supp. 3d at 970-71. Plaintiff offers no detail about how and when it decides to cover the cost of Acthar.

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Acthar Start Form. (Compl. 1111 46-47, Ex. A). The patient authorizes in Plaintiff"s words
“‘Mallinckrodt and its agents’ to do a number of things in relation to the prescription of Acthar,”
including sharing the patient’s health information and providing various services “including
reimbursement coverage and support.” ld. A “preliminary assessment of benefit verification” is
conducted to “confirm the patient’s insurance coverage or other source of payment.” (Compl. 1111
46, 49). As noted on the physician certification, “insurance verification is ultimately the
responsibility of the provider and third-party reimbursement is anected by a variety of factors.”
(Compl. Ex. A) (emphasis added). The Complaint does not describe the remaining steps in the
process but common sense dictates they include, at least: (i) the insurer or other payment source
confirming they approve and/or will pay for Acthar; (ii) Acthar being ordered, delivered, and
paid for; and (iii) Plaintiff at some point receiving and paying a reimbursement demand. And, of
course, at some (or each) point in the process the patient must decide they want to proceed with
the Acthar treatment This is far too remote to state a claim.

6. Plaintiff Cannot Use RICO to Privately Enforce the FDCA.

To the extent Plaintiff bases any RICO claims on the Acthar label, this impermissibly
seeks to privately enforce FDA regulations where the Federal Food, Drug and Cosmetic Act
(“FDCA”) contains no private cause of action4 21 U.S.C. § 337(a). lssues concerning the
accuracy of drug labels (which Plaintiff notes are submitted to and approved by the FDA) fall
squarely within the province of the FDA. (Compl. 11 97). Once a new drug is approved by the
FDA, the manufacturer must distribute the drug with its FDA-approved labeling, and failure to
do so can give rise to criminal liability for distributing a misbranded drug. See 21 U.S.C. §§

331(c), 333(a), 352(a), (c). A drug is misbranded under the FDCA if, among other things its

 

4 Plaintiff’s claims regarding the Acthar label appear to be offered as part of its purported lCFA claim, not
RlCO. (Compl. 1111 96, 120). Those assertions are addressed in Section III(D) infra

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labeling is false or misleading in any particular.” 21 U.S.C. § 352(a).

Courts regularly dismiss efforts to privately litigate violations of the FDCA. E.g. In re.'
Epogen & Aranesp O]j‘-Label Mktg. & Sales Practices Litig., 590 F. Supp. 2d 1282, 1290 (C.D.
Cal. 2008) (claims about drug labeling and advertisements “largely constitute[d] an attempt to
shoehorn allegations that Defendants have engaged in [misbranding] in violation of the FDCA
into RICO and state consumer fraud [claims]”); Sandoz Pharm. Corp., v. Richardson- Vicks, ]nc.,
902 F.2d 222, 231 (3rd Cir. 1990) (Lanham Act claim that drug’s label misleadineg and
inaccurately identified “active” ingredients properly dismissed because FDA was better suited to
interpret and enforce its regulations).

B. Plaintiff Has Failed to State a Claim Under 1962(a) (Count IV).

Plaintiff’ s 1962(a) RICO investment injury claim requires facts showing the Defendants
(1) received income from a pattern of racketeering activity; (2) used or invested that income in
the operation of an enterprise; and (3) caused injury by the use or investment of the racketeering
income in an enterprise Rao v. BP Products N. Am., Inc., 589 F.3d 389, 399 (7th Cir. 2009).
The harm from the investment activity must be distinct from the 1962(0) harm. Grove Fresh
Distrib., ]nc. v. Flavor Fresh Foods, ]nc., 720 F. Supp. 714, 716-17 (N.D. lll. 1989).

Plaintiff offers only boilerplate allegations that racketeering “income was used to acquire,
establish, and/or operate the ASAP Enterprise” and conflates its 1962(a) claim with the same
racketeering activity and injury alleged in its 1962(c) claim: overpayment for Acthar. (Compl. 1111
164, 167, 170). And Plaintiff’s bare allegation that its injury “was distinct from the injury
caused by the pattern of racketeering activity” is devoid of factual support (Compl. 11 171 ).

C. Plaintiff’s 1962(d) Conspiracy Claim Similarly Fails (Count V).

Plaintiffs RICO conspiracy claim fails for all of the reasons above. When a Section

1962(c) claim fails a Section 1962(d) claim premised upon the same facts also fails Walgreens,

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719 F.3d at 387; Goren, 156 F.3d at 732; In re Honey Trans. Lit., 87 F. Supp. 3d 885, 866 (N.D.
111. 2005). Plaintiff"s conspiracy claim fails for another reason: Plaintiff has made no
nonconclusory allegations evidencing an illicit agreement A RICO conspiracy requires showing
that: “(1) the defendant agreed to maintain an interest in or control of an enterprise or to
participate in the affairs of an enterprise through a pattern of racketeering activity, and (2) the
defendant further agreed that someone would commit at least two predicate acts to accomplish
those goals.” Slaney, 244 F.3d at 600. “[T]he touchstone of liability under § 1962(d) is an
agreement to participate in an endeavor which, if completed, would constitute a violation of the
substantive statute.” Goren, 156 F.3d at 732. Plaintiff’ s generalized, conclusory allegations that
Defendants agreed “to limit the distribution of Acthar” and “inflate prices and maximize profits”
do not satisfy Iqbal and, in any event, are not even RICO acts (Compl. 1111 175-76).

III. Plaintiff’s ICFA Claim Fails for a Host of Reasons (Count VI).5

Plaintiff does not clearly identity the activities it contends violate ICFA, but appears to
assert that the Acthar label is inaccurate (Compl. 1111 96, 120). This does not survive scrutiny.

A. Plaintiff is Not a “Person” Under ICFA and Lacks Standing.

For starters Plaintiff is not a “person” within the meaning of ICFA and lacks standing to
bring a claim. The Illinois Supreme Court has held that ICFA does not extend to body politics or
municipal entities Board of Educ. Of City of Chicago v. A, C and S, lnc., 131 111.2d 428, 468
(1989) (finding that plaintiff-school districts lacked standing to pursue ICFA claims because
municipal entities are not “persons”). Plaintiff, as a body politic and municipal corporation

lacks standing to sue under the ICFA, contrary to its bare assertion (Compl. 1111 184-185).

 

5 Since each federal claim over which the Court has original jurisdiction fails for the reasons above, the
Court should decline to exercise supplemental jurisdiction over Plaintiff’s alternatively-pleaded state law
claims (Compl. 1111 13-16.); 28 U.S.C. § 1367(c); Sidney Hillman, 192 F. Supp. 3d at 997; Groce v. Eli
Lilly & Co., 193 F.3d 496, 501 (7th Cir. 1999).

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B. Plaintiff’s ICFA Claim is Impliedly Preempted by Federal Law.

Plaintiff’s ICFA claim is also impliedly preempted by federal law and must be dismissed
The FDCA prohibits the distribution of any drug that is “misbranded” (i.e. sold with a false or
misleading label). 21 U.S.C. § 352(a). As part of the FDA’s approval process manufacturers
must submit proposed labeling to be used with the drug. ld. at § 355(b); 21 C.F.R. §
314.50(c)(2)(i). The FDA must approve the exact text in the proposed label. See 21 U.S.C. §
355; 21 C.F.R. § 314.105(b). A drug manufacturer may make changes to its label by (1)
securing FDA approval for the change or (2) making a change pursuant to the “Changes Being
Effected” (“CBE”) regulations 21 C.F.R. §§ 314.70(b); 314.70(c)(6)(iii); see also In re Celexa
and Lexapro Mktg. and Sales Practices Litig., 779 F.3d 34, 37 (1st Cir. 2015). The CBE
regulations allow manufacturers of brand-name drugs to make changes to an FDA-approved
label on the basis of “newly acquired information.” 21 C.F.R. § 314.70(c)(6)(iii).

Plaintiff seeks to impose liability based upon the content of the FDA-approved Acthar
label. lf a drug manufacturer must obtain FDA approval to take action to comply with state law,
the state law is preempted PLIVA, ]nc. v. Mensing, 564 U.S. 604, 623-24 (2011). In the context
of a labeling claim, the inquiry is whether the manufacturer could have corrected the label
without FDA approval using the CBE regulation See e.g., Celexa, 779 F.3d at 41 (consumer
claim based on misleading label preempted where manufacturer could not have “independently”
altered label); PLIVA, 564 U.S. at 623 (failure to warn claims against generic manufacturers
preempted where manufacturers could not update label unilaterally under CBE regulations).

While Mallinckrodt contends the Acthar label is accurate in all respects Plaintiff does not
allege Mallinckrodt can unilaterally change the FDA-approved label without FDA involvement
Plaintiff admits the relevant ACTH amino acid sequence was discovered in 1972 and the FDA
approved the Acthar label in 2010. (Compl. 1111 36, 102-103). There is no “newly acquired

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information” that would support a change under the CBE regulations The claim is preempted

C. Plaintiff’s Claim Also Falls Within Section 10b(l)’s Safe Harbor Exemption.

Section 10b(1) of ICFA expressly excludes from liability “actions specifically
authorized by laws administered by any regulatory body or offices acting under statutory
authority of this State or the United States.” 815 ILCS 505/10b(1). Here, Plaintiff’ s claim falls
Squarely within 10b(1) because the labeling at issue was specifically authorized, and, in fact,
approved, by the FDA under the authority of the FDCA. Bober v. Glaxo Wellcome PLC, 246
F.3d 934, 941 (7th Cir. 2001). 1n Bober, the Seventh Circuit, in applying the 10b(1) safe harbor
to dismiss the plaintiff’s ICFA claim against the manufacturer of Zantac, explained that because
its statements regarding Zantac “f[ell] within the boundaries established by federal law,” they
were entitled to protection under Section 10b(1). ld. at 942-43; see also Price v. Philip Morris,
lnc., 219 111.2d 182, 262 (2005) (citing Bober and explaining that 10b(1) encompassed
“statements that ‘fall within the boundaries established by federal law’ in a highly regulated
industry, even if those statements may tend to be confusing or misleading”).

Plaintiff cannot use ICFA to “impose higher disclosure requirements” than what was
authorized, required, and approved by the FDA. Bober. 246 F.3d at 941. Mallinckrodt has an
even stronger case for dismissal than the defendant in Bober, because there the alleged
“misstatements” were not on the drug’s label, but instead came from several other sources
including its website and a consumer hotline. ld. at 937.

D. In Any Event, Plaintiff Has Not Adequately Alleged an ICFA Claim.

ln any event, Plaintiff has not plausibly alleged facts stating an ICFA claim. Plaintiff has
not adequately alleged a single actionable misrepresentation or deceptive or unfair practice
Where, as here, a claim “sounds in fraud,” Rule 9(b)’s heightened pleading standard applies

which “ordinarily requires describing the who, what, when where, and how of the fraud.”

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Camastra v. Jos. A. Bank Clothiers, ]nc., 761 F.3d 732, 736 (7th Cir. 2014).

ln attempting to fashion a claim, Plaintiff misstates the FDA-approved Acthar label.6
Plaintiff claims “Acthar’s label states that it contains porcine ACTH (adrenocorticotropic
hormone).” (Compl. 11 100). Not so. The label describes Acthar as “adrenocorticotropic hormone
(ACTH)”; the label also indicates Acthar is a “repository corticotropin injection” Contrary to
Plaintiff"s claims there is no representation about whether Acthar contains “porcine” or
“dearnidated porcine” ACTH. (Compl. Ex. D, pp. 1, 4; Ex. E, pp. 1, 12; see Compl. 11 117).7

Plaintiff also generally alleges Mallinckrodt made “representations concerning the
appropriateness of Acthar to treat their indicated conditions and the appropriateness of the prices
charged for Acthar.” (Compl. 11 191). Plaintiff wholly fails to identify the details of such
representations because none were made Similarly insufficient is Plaintiff s naked contention
that Acthar contains less corticotropin than is asserted on the label (which would be a matter for
the FDA in any eventg). Plaintiff actually asserts elsewhere in the Complaint that Mallinckrodt
“never disclosed the active ingredient in the Acthar being sold, or the potency of such product.”
(Compl. 1111 109, 112-14). And to the extent Plaintiff attempts to ground its ICFA claim on
supposed and unidentified “unfair methods of competition” or “unfair or deceptive acts or

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practices charging an unconscionably high price generally is insufficient to establish a claim

ofunfairness.” Siegel v. Shell Oil Co., 656 F. Supp. 2d 825, 833 (N.D. 111. 2009).

 

6 Plaintiffinterchangeably uses the terms “Label” and “Package lnsert.” (Compl. 1111 105, 109).

7 Plaintiff also claims that because ofa change in the “scientific understanding” of the structure of ACTH
in 1972, the Acthar label _ which was approved by the FDA in 2010 following its comprehensive review
- is incorrect (Compl. 1111 102-106). Not so. In fact, Plaintiff"s own allegations reveal that the
“Description” section of the FDA-approved label diagraming the amino acid sequence at issue in Acthar
is entirely accurate for adrenocorticotropic hormone _ a.k.a. ACTH. (Compl. 1111 103-105; Comp|. Ex. D,
p. 4; Ex. E, p. 12).

8 See 21 U.S.C. § 337(a); 21 U.S.C. § 351.

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Nor can Plaintiff establish proximate causation or actual damages both of which are
required elements of an ICFA claim. Camastra, 761 F.3d 739; (See also Section 2(A)(5), supra).
Critically, Plaintiff cannot, and does not, allege that it relied upon the statements at issue in
determining whether to reimburse claims for Acthar. See DeBouse v. Bayer, 235 111.2d 544, 555
(Ill. 2009) (holding that plaintiff could not establish proximate cause where she was not “actually
deceived by a statement or omission”). Nor can or does Plaintiff allege that it, or anyone else,
would have acted differently if Acthar’s label was different in any respect Plaintiff further
cannot and does not allege Acthar was ineffective Nor can Plaintiff show it sustained actual
damages since speculative and conclusory statements about possible lower prices in the market
are insufficient to show an ICFA injury. Camastra, 761 F.3d at 739-40; DeBouse, 235 111.2d at
555 (rejecting “market theory” of causation).

IV. Plaintiff’s Uniust Enrichment and Civil Conspiracv Claims Fail (Counts VII, VIII).

Plaintiff s unjust enrichment claim fails because there is no underlying tort or unlawful
conduct Martis v. Grinnell Mut. Reinsurance Co., 388 lll. App. 3d 1017, 1025 (3d Dist. 2009).
ln the absence of any deception there can be no violation of “fundamental principles of justice,
equity, and good conscience” and no unjust enrichment Bober, 246 F.3d at 943; Cleary v. Philip
Morris, ]nc., 656 F.3d 511, 517 (7th Cir. 2011).

Plaintiff`s civil conspiracy claim fails for the same reasons its RICO conspiracy claim
fails See, e.g., Bober, 246 F.3d at 943. Plaintiff has not adequately alleged an underlying tort or
underlying unlawful act that could support a conspiracy claim or the precise agreement between
the parties Redelmann v. Claire Sprayway, lnc., 375 lll. App. 3d 912, 923 (lst Dist. 2007). The
mere characterization of a combination of acts as a conspiracy is insufficient ld.

V. Statutes ofLimitations.

ln addition to the pleading deficiencies set out above, much of the alleged conduct

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supporting each claim falls outside of the applicable limitations period for the respective Count.
The supposedly wrongful conduct alleged in the complaint began in July 2007, almost ten years
prior to the filing of the complaint With respect to Plaintiff s antitrust claims under the Sherman
Act, there is a four-year statute of limitations 15 U.S.C. § 15b (2012). Similarly, RICO claims
are subject to a four-year statute of limitations McCool v. Strata Oil Co., 972 F.2d 1452, 1463-
64 (7th Cir. 1992). With respect to Plaintiff`s state law claims ICFA claims are subject to a
three-year statute of limitations 815 lll. Comp. Stat. 505/10a(e) (2010). Unjust enrichment and
civil conspiracy claims are both subject to a five-year statute of limitations 735 lll. Comp. Stat.
5/13-205 (2010).

Plaintiff alleges it paid for nine administrations of Acthar to two patients but fails to
plead any facts indicating when the reimbursements were supposedly made (Compl. 11 12). To
the extent Plaintiff’s reimbursements for Acthar fall outside of each claim’s respective
limitations period, Plaintiffs claims are time-barred Plaintiff has made no effort to plead
fraudulent concealment or other possible grounds for equitable tolling of the limitations periods
nor is there a basis for such assertions Plaintiff s failure to allege specific facts regarding its
alleged Acthar reimbursements further demonstrates the insufficiency of its Complaint

CONCLUSlON

The Court should, respectfully, dismiss the Complaint with prejudice in its entirety.

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Dated: August 22, 2017

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Respectfully Submitted,
COUNSEL FOR DEFENDANTS

MALLINCKRODT plc and
MALLINCKRODT ARD INC.

/S/ Scott Collins Sullivan

 

Scott Collins Sullivan
WilliamsMcCarthyLLP

120 West State St.

P.O. Box 219

Rockford, IL 61 105-0219
(815) 987-8900

Email: ssullivan@wilmac.com

G. Patrick Watson

Lindsay Sklar Johnson

Bryan Cave LLP

One Atlantic Center, 14th Floor
1201 W. Peachtree St, NW
Atlanta, GA 30309

(404) 572-6600
patrick.watson@bryancave.com
lindsay.j ohnson@bryancave.com

Rebecca A. Nelson

Herbert R. Giorgio, Jr.

Bryan Cave LLP

One l\/Ietropolitan Square

211 North Broadway, Suite 3600
St. Louis MO 63102

(314) 259-2000
ranelson@bryancave.com
herb.giorgio@bryancave.com

Philip D. Bartz

Bryan Cave LLP

1155 F Street, N.W.
Washington DC 20004
(202) 508-6000
philip.bartz@bryancave.com

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CERTIFICATE OF LAWYER
The undersigned hereby certifies that on August 22, 2017, 1 electronically filed the
foregoing instrument with the Clerk of the Court using the Cl\/l/ECF system, which will send
notification of such filing to the following:

.1 ay William Chamberlin (chamberlin@havilandhughes.com)
Michael W. Lenert (mwl@meyers-flowers.com)
Ifanyichukwu C. l\/logbana (ifeanyi.mogbana@rockfordil.gov)
Donald E. Haviland, Jr. (haviland@havilandhughes.com)
Peter J. Flowers (pfj @meyers-flowers.com)

Jonathan Peter l\/lincieli (jpm@meyers-flowers.com)
William H. Platt, 11 (platt@havilandhughes.com)

Kerry Franklin Partridge (kerry.partirdge@rockfordil.gov)
Eric `J. Gorman (egorman@skadden.com)

Matthew Robert Kipp (mkipp@skadden.com)

Thomas Pak (thomas.pak@skaddencom)

/s/ Scott C. Sullivan

Scott Collins Sullivan
Williamsl\/lcCarthy LLP
Email: ssullivan@wilmac. com
120 West State Street

P.O. Box 219

Rockford, lL 61105-0219

Ph: (815) 987-8900

Attorney for Defendants Mallinckrodt ARD lnc.
formerly known as Questcor Pharmaceuticals, lnc.
and Mallinckrodt plc

